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UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA
Criminal No. 22-40 (JRT/LIB)

UNITED STATES OF AMERICA, SECOND SUPERSEDING
INDICTMENT
Plaintiff,
V. 8 U.S.C. § 1824(a)(1)(A)@)
8 U.S.C. § 1824(a)(1)(A)(i1)
(1) HARSHKUMAR RAMANLAL PATEL 8 U.S.C. § 1824(a)(1)(A)(v)
a/k/a “Dirty Harry,” 8 U.S.C. § 1324(a)(1)(B)@)
a/k/a Harry Patel, 8 U.S.C. § 1824(a)(1)(B) (iii)
a/k/a Param Singh, 8 U.S.C. § 1824(a)(1)(A)(W) dD

a/k/a Haresh Rameshlal Patel,
a/k/a Harshkumar Singh Patel, and
(2)STEVE ANTHONY SHAND,

Defendants.

THE UNITED STATES GRAND JURY CHARGES THAT:

COUNT ONE
Conspiracy to Bring Aliens to the United States Causing Serious Bodily
Injury and Placing Lives in Jeopardy

From on or about December 7, 2021 through January 19, 2022, in the
District of Minnesota and elsewhere, the defendants,

HARSHKUMAR RAMANLAL PATEL
a/k/a “Dirty Harry,”
a/k/a Harry Patel,
a/k/a Param Singh,
a/k/a Haresh Rameshlal Patel,
a/k/a Harshkumar Singh Patel, and
STEVE ANTHONY SHAND, | SCANNE!

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| U.S. DISTRICT COURT M PLS | |
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did knowingly and intentionally combine, conspire, confederate and agree with
each other and others known and unknown to the Grand Jury to commit the
following offense against the United States: to bring aliens to the United States
at a place other than a designated port of entry and a place other than as
designated by the Commissioner, knowing that such persons are aliens,
regardless of whether such aliens had received prior official authorization to
come to, enter, and reside in the United States and regardless of any future
official action which may be taken in respect to such aliens, causing serious
bodily injury to and placing in jeopardy the life of an alien during and in
relation to the offense, all in violation of Title 8, United States Code, Sections
1324(a)(1)(A)G), 1324(a)(1)(A)(v) (1), and 1824(a)(1)(B)(@il).

COUNT TWO
Conspiracy to Transport Aliens Causing Serious Bodily Injury and Placing
Lives in Jeopardy

From on or about December 7, 2021 through January 19, 2022, in the

District of Minnesota and elsewhere, the defendants,

HARSHKUMAR RAMANLAL PATEL
a/k/a “Dirty Harry,”
a/k/a Harry Patel,
a/k/a Param Singh,
a/k/a Haresh Rameshlal Patel,
a/k/a Harshkumar Singh Patel, and
STEVE ANTHONY SHAND,
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did knowingly and intentionally combine, conspire, confederate and agree with
each other and others known and unknown to the Grand Jury, to commit the
following offense against the United States: to transport and move within the
United States by means of transportation and otherwise, aliens who entered
and remained in the United States in violation of law, knowing and in reckless
disregard of the fact that said aliens came to, entered, and remained in the
United States in violation of law, in furtherance of such violation of law,
causing serious bodily injury to and placing in jeopardy the life of an alien
during and in relation to the offense, all in violation of Title 8, United States
Code, Sections 1324(a)(1)(A)(ii), 1824(a)(1)(A)(v)(D, and 1324(a)(1)(B) (ai).

COUNT THREE
Attempted Transportation of Aliens for the Purpose of Commercial
Advantage and Private Financial Gain

On or about January 19, 2022, in the District of Minnesota and
elsewhere, the defendants,

HARSHKUMAR RAMANLAL PATEL
a/k/a “Dirty Harry,”
a/k/a Harry Patel,
a/k/a Param Singh,
a/k/a Haresh Rameshlal Patel,
a/k/a Harshkumar Singh Patel, and
STEVE ANTHONY SHAND,

knowing and in reckless disregard of the fact that an alien had come to,

entered, and remained in the United States in violation of law, attempted to
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transport and move such alien within the United States by means of
transportation and otherwise, in furtherance of such violation of law, for
purpose of commercial advantage and private financial gain, in violation of
Title 8, United States Code, Sections 1324(a)(1)(A)(ii) and 1324(a)(1)(B)Q).

COUNT FOUR
Aiding and Abetting the Attempted Transportation of Aliens for the Purpose
of Commercial Advantage and Private Financial Gain

On or about January 19, 2022, in the District of Minnesota and
elsewhere, the defendants,
HARSHKUMAR RAMANLAL PATEL
a/k/a “Dirty Harry,”
a/k/a Harry Patel,
a/k/a Param Singh,
a/k/a Haresh Rameshlal Patel,

a/k/a Harshkumar Singh Patel, and
STEVE ANTHONY SHAND,

aided and abetted by each other and others known and unknown to the Grand
Jury, knowing and in reckless disregard of the fact that an alien had come to,
entered, and remained in the United States in violation of law, attempted to
transport and move such alien within the United States by means of
transportation and otherwise, in furtherance of such violation of law, for
purpose of commercial advantage and private financial gain, in violation of
Title 8, United States Code, Sections 1324(a)(1)(A)(ii), 1324(a)(1)(A)(v) dD, and

1324(a)(1)(B)Q@).
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FORFEITURE ALLEGATIONS

Counts 1 through 4 of this Second Superseding Indictment are hereby
realleged and incorporated as if fully set forth herein by reference, for the
purpose of alleging forfeitures pursuant to Title 18, United States Code,
Section 982(a)(6).

Upon conviction of the offenses in Counts 1 through 4 of this Second
Superseding Indictment, the Defendants shall forfeit to the United States of
America, pursuant to Title 18, United States Code, Section 982(a)(6):

(A) Any conveyance, including any vessel, vehicle, or aircraft used in the
commission of the offense; and
(B) Any property, real or personal —

i. That constitutes, or is derived from or is traceable to the
proceeds obtained directly or indirectly from the commission
of the offense; or

ii. That is used to facilitate, or is intended to facilitate, the
commission of the offense.

The property to be forfeited includes, but is not limited to, the following:
two black-colored Samsung cellular telephones bearing IMEI numbers
359011830852004 and 350336260884618 and one blue-colored Apple iPhone

bearing IMEI number 353869220320890.
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If any of the above-described forfeitable property is unavailable, the
United States intends to seek the forfeiture of substitute property as provided
in Title 21, United States Code, Section 853(p), as incorporated by Title 18,

United States Code, Section 982(b)(1).

A TRUE BILL

UNITED STATES ATTORNEY FOREPERSON
